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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KATHLEEN A. SERVATIUS
     Assistant U.S. Attorney
 3   4401 Federal Building
     2500 Tulare Street
 4   Fresno, California 93721
     Telephone: (559) 497-4000
 5   Facsimile: (559) 497-4099
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 7
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           1:10-CR-00416 LJO
                                   )
12             Plaintiff,          )           PRELIMINARY ORDER OF
                                   )           FORFEITURE
13        v.                       )
                                   )
14   DANIEL PINEDA-PARRA,          )
                                   )
15             Defendant.          )
     ______________________________)
16
17         Based upon the plea agreement entered into between plaintiff
18   United States of America and defendant Daniel Pineda-Parra it is
19   hereby
20         ORDERED, ADJUDGED AND DECREED as follows:
21         1.    Pursuant to 21 U.S.C. § 853, defendant Daniel Pineda-
22   Parra’s interest in the following property shall be condemned and
23   forfeited to the United States of America, to be disposed of
24   according to law:
25                a)    Approximately $5,200.00 in U.S. Currency
26         2.    The above-listed property constitutes property that is
27   proceeds of violations of 21 U.S.C. §§ 841(a)(1) and 846.
28   ///
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 1         3.   Pursuant to Rule 32.2(b), the Attorney General (or a
 2   designee) shall be authorized to seize the above-listed property.
 3   The aforementioned property shall be seized and held by the
 4   United States Marshals Service, in its secure custody and
 5   control.
 6         4.    a.    Pursuant to 21 U.S.C. § 853(n) and Local Rule 171,
 7   the United States shall publish notice of the order of
 8   forfeiture.      Notice of this Order and notice of the Attorney
 9   General’s (or a designee’s) intent to dispose of the property in
10   such manner as the Attorney General may direct shall be posted
11   for at least 30 consecutive days on the official internet
12   government forfeiture site www.forfeiture.gov.          The United States
13   may also, to the extent practicable, provide direct written
14   notice to any person known to have alleged an interest in the
15   property that is the subject of the order of forfeiture as a
16   substitute for published notice as to those persons so notified.
17               b.    This notice shall state that any person, other than
18   the defendant, asserting a legal interest in the above-listed
19   property, must file a petition with the Court within sixty (60)
20   days from the first day of publication of the Notice of
21   Forfeiture posted on the official government forfeiture site, or
22   within thirty (30) days from receipt of direct written notice,
23   whichever is earlier.
24         5.   If a petition is timely filed, upon adjudication of all
25   third-party interests, if any, this Court will enter a Final
26   ///
27   ///
28   ///
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 1   Order of Forfeiture pursuant to 21 U.S.C. § 853 in which all
 2   interests will be addressed.
 3   IT IS SO ORDERED.
 4   Dated:    June 5, 2012                  /s/ Lawrence J. O'Neill
     b9ed48                              UNITED STATES DISTRICT JUDGE
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